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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA           )
                                   )      CRIMINAL ACTION NO.
        v.                         )         2:22cr353-MHT
                                   )              (WO)
JOHN HOOKS, III                    )

                                ORDER

       This cause is before the court on the unopposed

motion to continue trial filed by defendant John Hooks,

III.     For the reasons set forth below, and based upon

the representations made during a conference call on

the motion on February 17, 2023, the court finds that

jury selection and trial, now set for March 13, 2023,

should be continued pursuant to 18 U.S.C. § 3161(h).

       While the granting of a continuance is left to the

sound discretion of the trial judge, see United States

v. Stitzer, 785 F.2d 1506, 1516 (11th Cir. 1986), the

court    is   limited   by   the   requirements      of   the   Speedy

Trial Act, 18 U.S.C. § 3161.           The Act provides in part:

       "In any case in which a plea of not guilty is
       entered, the trial of a defendant charged in
       an   information   or  indictment   with   the
       commission of an offense shall commence within
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     seventy days from the filing date (and making
     public) of the information or indictment, or
     from the date the defendant has appeared
     before a judicial officer of the court in
     which such charge is pending, whichever date
     last occurs."

§ 3161(c)(1).        The Act excludes from the 70-day period

any period of delay resulting from a continuance based

on “findings that the ends of justice served by taking

such action outweigh the best interest of the public

and the defendant in a speedy trial.”                  § 3161(h)(7)(A).

In granting a continuance under subsection (h)(7)(A),

the court may consider, among other factors, whether

the failure to grant the continuance “would be likely

to    ...     result      in      a    miscarriage        of     justice,”

§ 3161(h)(7)(B)(i),          or   “would     deny      counsel    for    the

defendant     or    the    attorney       for    the    Government       the

reasonable       time   necessary      for   effective        preparation,

taking    into     account     the    exercise   of     due    diligence,”

§ 3161(h)(7)(B)(iv).




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      The court concludes that, in this case, the ends of

justice served by granting a continuance outweigh the

interest of the public and Hooks in a speedy trial.

Defense counsel represents that the parties are in the

midst of plea negotiations and need more time before

the      upcoming      plea      deadline        to     complete       those

negotiations.        In addition, counsel needs time to have

the    defendant     undergo     a   psychological        evaluation      to

assist with the negotiation process.                   The court sees no

evidence of a lack of diligence on counsels’ part.                          A

continuance of the trial date until June 5, 2023 is

necessary      to    allow    sufficient      time      for   counsel      to

finish the negotiation process in advance of the plea

deadline      and     trial     date.       As        noted   above,      the

government does not oppose the motion.

                                     ***

      Accordingly, it is ORDERED as follows:

      (1) The unopposed amended motion to continue trial

(Doc. 22) is granted.

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    (2) The jury selection and trial, now set for March

13, 2023, are reset for June 5, 2023, at 10:00 a.m., in

Courtroom    2FMJ   of   the   Frank    M.   Johnson,     Jr.    United

States      Courthouse      Complex,      One      Church       Street,

Montgomery, Alabama.

    The United States Magistrate Judge shall postpone

the change-of-plea and any other appropriate deadlines.

    DONE, this the 17th day of February, 2023.

                                   /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE




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